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              UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :
                                        :
                   v                    :        3:CR-19-111
NICHOLAS STANLEY                        :       (Judge Mannion)
            Defendant                   :


                                  ORDER
      Presently before the court is the defendant’s concurred-in motion for an
extension of time to file pretrial motions and continue trial. (Doc. 16). The
motion is GRANTED.
      The parties shall have until August 12, 2019 to file any pretrial motions
and Motions in Limine in this case.
      Jury Selection and Trial are continued until Monday, September 23,
2019 at 9:30 a.m. in the William J. Nealon Federal Building and United States
Courthouse, 235 North Washington Avenue, Scranton, Pennsylvania in a
Courtroom to be designated at a later time.
      The court finds that this continuance of time outweighs the best interests
of the public and the defendants in a speedy trial, and that the appropriate time
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shall be excluded under the Speedy Trial Act, 18 U.S.C. §3161(h)(6) and
(7)(A).




                                          S/Malachy E. Mannion
                                          MALACHY E. MANNION
                                          United States District Judge


Dated: July 11, 2019
19-111-04
